OPINION — AG — ** DEPUTIES — LEGALITY ** A COUNTY SHERIFF MAY APPOINT DEPUTIES IN THREE BASIC CATEGORIES BY 19 O.S. 1971 541 [19-541], 19 O.S. 1971 542 [19-542] BASED UPON THE POPULATION OF THE COUNTY. DEPUTIES IN THIS CATEGORY MUST BE CERTIFIED, I.E., TRAINED AND TESTED, BY THE SOUTHWEST CENTER FOR LAW ENFORCEMENT EDUCATION PURSUANT TO 70 O.S. 1974 Supp., 3311 [70-3311] . THE SECOND CATEGORY MAY CONSIST OF ANY NUMBER OF ADDITIONAL DEPUTIES TO PRESERVE THE PEACE AND DIGNITY OF THE COUNTY WHO MUST BE BONDED AND COMMISSIONED AND WHO MUST BE CERTIFIED PURSUANT TO 70 O.S. 1974 Supp., 3311 [70-3311] . ANY PERSON COMMISSIONED BY THE SHERIFF UNDER 19 O.S. 1971 545 [19-545] AND BONDED AS PROVIDED FOR BY LAW IS ENTITLED AND REQUIRED TO BE TRAINED AND TESTED BY THE SOUTHWEST CENTER FOR LAW ENFORCEMENT EDUCATION AND TRAINING. THE THIRD CATEGORY OF DEPUTY SHERIFFS EXTEND TO THOSE PERSONS DEPUTED TO DO PARTICULAR ACTS WHO ARE NOT SUBJECT TO THE PROVISIONS OF 70 O.S. 1974 Supp., 3311 [70-3311] IN LIGHT OF THEIR " TEMPORARY " STATUS AND WHOSE APPOINTMENT LAPSE UPON THE ACCOMPLISHMENT OF THE ACT OR ACTS FOR WHICH THE PERSON WAS DEPUTED. IT SHOULD BE NOTED THAT UNDER THE PROVISIONS OF 47 O.S. 1971 97 [47-97], THE BOARD OF COUNTY COMMISSIONERS IS EMPOWERED TO COMMISSION " SPECIAL OFFICERS " FOR THE ENFORCEMENT OF TRAFFIC LAWS WITHIN THE COUNTY. OFFICERS SO APPOINTED MUST BE TRAINED AND TESTED PURSUANT TO 19 O.S. 1971 541 [19-541], 19 O.S. 1971 542 [19-542] 19 O.S. 1971 545 [19-545], 19 O.S. 1971 547 [19-547] [19-547] IS EMPOWERED TO PERFORM ALL FUNCTIONS COMMENSURATE WITH THE POSITION OF DEPUTY SHERIFF INCLUDING THE POWER TO CARRY A WEAPON AND SERVE SEARCH WARRANTS AND WARRANTS OF ARREST. CITE: 47 O.S. 1971 97 [47-97] (DEFINITION) (MICHAEL CAUTHRON)